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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


VIRGINIA HAUF and STEPHEN BARROW,

             Plaintiffs,                                 Case No. 1:06-cv-627

v.                                                       HON. JANET T. NEFF

LIFE EXTENSION FOUNDATION and
WILLIAM FALOON,

            Defendants.
____________________________________/



                                          ORDER

             In accordance with the Opinion entered this date:

             IT IS HEREBY ORDERED that Defendant Life Extension Foundation’s Motion

to Dismiss (Dkt 4) is DENIED.

             IT IS FURTHER ORDERED that Defendant William Faloon’s Motion to Dismiss

(Dkt 13) is DENIED.



DATED: March 4, 2008                         /s/ Janet T. Neff
                                             JANET T. NEFF
                                             United States District Judge
